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    Gerrit M. Pronske                                     James Sheehan
    State Bar No. 16351640                                Pro Hac Vice
    Eric M. Van Horn                                      Emily Stern
    State Bar No. 24051465                                Pro Hac Vice
    Jason P. Kathman                                      Monica Connell
    State Bar No. 24070036                                Pro Hac Vice
    SPENCER FANE LLP                                      Stephen Thompson
    2200 Ross Avenue, Suite 4800 West                     Pro Hac Vice
    Dallas, TX 75201                                      OFFICE OF THE ATTORNEY GENERAL
    (214) 750-3610 – Telephone                            OF THE STATE NEW OF NEW YORK
    (214) 750-3612 – Telecopier                           28 Liberty Street
    -and-                                                 New York, NY 10005
    5700 Granite Parkway, Suite 650                       (212) 416-8401 – Telephone
    Plano, TX 75024                                       Email: James.Sheehan@ag.ny.gov
    (972) 324-0300 – Telephone                            Email: Emily.Stern@ag.ny.gov
    (972) 324-0301 – Telecopier                           Email: Monica.Connell@ag.ny.gov
    Email: gpronske@spencerfane.com                       Email: Stephen.Thompson@ag.ny.gov
    Email: ericvanhorn@spencerfane.com
    Email: jkathman@spencerfane.com                       COUNSEL FOR THE PEOPLE OF
                                                          THE STATE OF NEW YORK, BY
    COUNSEL FOR THE PEOPLE OF                             LETITIA JAMES, ATTORNEY GENERAL
    THE STATE OF NEW YORK, BY
    LETITIA JAMES, ATTORNEY GENERAL
    OF THE STATE OF NEW YORK




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

IN RE:                                                §
                                                      §     CASE NO. 21-30085-hdh-11
NATIONAL RIFLE ASSOCIATION                            §
OF AMERICA and SEA GIRT LLC,                          §     CHAPTER 11
                                                      §
                  Debtors.1                           §     Jointly Administered

                              THE STATE OF NEW YORK’S
                      MOTION TO DISMISS, OR, IN THE ALTERNATIVE,
                          TO APPOINT A CHAPTER 11 TRUSTEE




1
 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.
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TO THE HONORABLE HARLIN D. HALE,
CHIEF UNITED STATES BANKRUPTCY JUDGE:

       The People of the State of New York, by Letitia James, Attorney General of the State of

New York (“NYAG”), a party in interest in the above-referenced bankruptcy case, submits this

motion (the “Motion”) for entry of an order pursuant to Sections 1104 and 1112 of the United

States Bankruptcy Code dismissing the Debtors’ bankruptcy cases, or in the alternative, to appoint

a Chapter 11 trustee. The NYAG also concurrently files its Memorandum of Law and Brief in

Support of the Motion (the “Brief”) and Appendix (the “Appendix”). In support of the Motion,

the NYAG respectfully states as follows:

       1.      On January 15, 2021 (the “Petition Date”), the National Rifle Association of

America (the “NRA”) and Sea Girt LLC (“Sea Girt” and together with the NRA, the “Debtors”)

filed its voluntary petition for bankruptcy under chapter 11 of title 11 of the United States Code

(the “Bankruptcy Code”).

       2.      On February 4, 2021, the Official Committee of Unsecured Creditors (the

“Committee”) was appointed by the United States Trustee.

       3.      For the reasons identified and explained in the Brief, the NYAG respectfully

requests that the Court enter an order dismissing the Debtors’ bankruptcy cases, or in the

alternative, to appoint a chapter 11 trustee.

       WHEREFORE, the NYAG respectfully requests the Court (i) enter an Order, substantially

in the form attached hereto, dismissing the bankruptcy cases of the NRA and Sea Girt, or, in the

alterative, ordering the appointment of a chapter 11 trustee; and (ii) for any and all further relief,

at law or equity, to which the NYAG may be entitled.




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Dated: February 12, 2021.               Respectfully submitted,

                                         /s/ Gerrit M. Pronske
                                         Gerrit M. Pronske
                                         State Bar No. 16351640
                                         Eric M. Van Horn
                                         State Bar No. 24051465
                                         Jason P. Kathman
                                         State Bar No. 24070036
                                         SPENCER FANE LLP
                                         2200 Ross Avenue, Suite 4800 West
                                         Dallas, Texas 75201
                                         (214) 750-3610 – Telephone
                                         (214) 750-3612 – Telecopier
                                         -and-
                                         5700 Granite Parkway, Suite 650
                                         Plano, Texas 75024
                                         (972) 324-0300 – Telephone
                                         (972) 324-0301 – Telecopier
                                         Email: gpronske@spencerfane.com
                                         Email: ericvanhorn@spencerfane.com
                                         Email: jkathman@spencerfane.com

                                                – And –

                                         /s/ James Sheehan
                                         James Sheehan
                                         (NY Bar No. 4552055)
                                         Emily Stern
                                         (NY Bar No. 2647220)
                                         Monica Connell
                                         (NY Bar No. 3070943)
                                         Stephen Thompson
                                         (NY Bar No. 5390067)
                                         OFFICE OF THE ATTORNEY GENERAL
                                         OF THE STATE OF NEW YORK
                                         28 Liberty Street
                                         New York, NY 10005
                                         (212) 416-8401
                                         Email: James.Sheehan@ag.ny.gov
                                         Email: Emily.Stern@ag.ny.gov
                                         Email: Monica.Connell@ag.ny.gov
                                         Email: Stephen.Thompson@ag.ny.gov

                                         COUNSEL FOR THE PEOPLE OF
                                         THE STATE OF NEW YORK, BY
                                         LETITIA JAMES, ATTORNEY GENERAL
                                         OF THE STATE OF NEW YORK

THE STATE OF NEW YORK’S MOTION TO DISMISS, OR, IN THE ALTERNATIVE, TO APPOINT A
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on February 12, 2021, a true and correct copy of the foregoing Motion
and Brief was served upon all parties entitled to notice, including the Debtors, United States
Trustee, and Official Committee of Unsecured Creditors via the Court’s electronic transmission
facilities. Any further methods of service will be reflected in a supplemental certificate of service.

                                                      /s/ Gerrit M. Pronske
                                                      Gerrit M. Pronske


                              CERTIFICATE OF CONFERENCE

        The undersigned hereby certifies that on February 12, 2021 he attempted to speak with Pat
Neligan, counsel for the Debtors, regarding the relief sought herein but was unable to reach him
as of the time of filing.

                                                      /s/ Gerrit M. Pronske
                                                      Gerrit M. Pronske




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